Case 2:05-cr-20140-.]PI\/| Document 20 Filed 06/24/05 Page 1 of 3 Page|D 29

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

V.

£ €m/Mo A¢M`J

Criminal No.CZS:-EZLEZQ Ml

(30~Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at gigg
a.m. on Fridav, Julv 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2

   
 

‘|'h!s document entered on the docket shut n
with Hule 55 andior 32{!:) FRCrP on

Case 2:05-cr-20140-.]PI\/| Document 20 Filed 06/24/05 Page 2 of 3 Page|D 30

so oRDERED this 24th day of June, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRIC'I` JUDGE

 

@W/ pit/j

Assistant United States Attorney

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c/

 

 

 

 

Counsel for Defendant(s)

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20140 Was distributed by faX, mail, or direct printing on
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.1 acob E. ErWin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

